Case 6:24-cr-00091-WWB-EJK Document 18 Filed 04/23/24 Page 1 of 2 PagelD 52

AO 442 (Rey U/I1) Arrest Warrant Fi D

UNITED STATES DISTRICT COURT SEALED

for the
Middle District of Florida

United States of America

Case No, 6:24-cr- GI - WUWe- GI
ADON O. HEMLEY )
)
)
)
Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested)  ADON O. HEMLEY i
who is accused of an offense or violation based on the following document filed with the court:

& Indictment © Superseding Indictment O Information © Superseding Information 7 Complaint

O) Probation Violation Petition CO Supervised Release Violation Petition O Violation Notice © Order of the Court

This offense is briefly described as follows:

Conspiracy to Defraud the United States, ail in violation of 18 U.S.C. § 371
Aiding in the Preparation and Presentation of a False Tax Return, in violation of 26 U.S.C. § 7206(2)

Date: a | 1D) OY C >
ing ofr resignature- :

City and state: Orlando, FL ELIZABETH WARREN, Clerk, United States District Court
Printed name and uitle

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Return

This warrant was received on (date) Y -|o- L , and the person was arrested on (dare, q - Ll? - LY

at (cin and state) My 4% A mA 4 * fe ‘

Date: Y- Lo- Ey

Arresting officer's signature

AAD 4 SpepyenZ Ar say

Printed name and title

Case 6:24-cr-00091-WWB-EJK Document 18 Filed 04/23/24 Page 2 of 2 PagelD 53

AO 442 (Rey. 11/11) Arrest Warrant Fi D> }| (vle LG SS

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pa: 4] 10] 94

City and state: Orlando, FL ELIZABETH WARREN, Clerk, United States District Court

¥
Printed name and title

Return

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at (city and state) Mul (ANB | re

Date:

Arresting officer's signature

i bY USD

Axe skal DA ] Ke SS ~ Lyi aw Sho e d Printed name and title
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